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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA


REC MARINE LOGISTICS, LLC                                           CIVIL ACTION

VERSUS                                                                 No. 19-11149

DEQUINCY R. RICHARD, ET AL.                                             SECTION I

                                      ORDER

      Considering the affidavit 1 of Eric J. Rhine (“Rhine”) detailing the attorneys’

fees and costs incurred by DeQuincy R. Richard (“Richard”) in connection with the

motion 2 by REC Marine Logistics, LLC, et al. (“REC Marine”) to appeal and reverse

the order 3 of the United States Magistrate Judge, and this Court’s order 4 denying

REC Marine’s motion,

      IT IS ORDERED that by MARCH 5, 2020, counsel for REC Marine shall

pay Richard $1,500.00 for attorneys’ fees incurred by Richard.5 Under no

circumstances is counsel for REC Marine to be reimbursed by REC Marine for the

payment of such attorneys’ fees.

      New Orleans, Louisiana, February 5, 2020.



                                       _______________________________________
                                               LANCE M. AFRICK
                                       UNITED STATES DISTRICT JUDGE


1 R. Doc. No. 66.
2 R. Doc. No. 51.
3 R. Doc. No. 49.
4 R. Doc. No. 61.
5 The Court has applied a reduced hourly billing rate based on the Court’s experience

with respect to prevailing rates in this type of case.
